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   IN THE DISTRICT COURT OF THE UNITED STATES
            for the Western District of New York
                                    ____________________

                                                        November 2021 GRAND JURY
                                                        (Impaneled 11/05/2021)

 THE UNITED STATES OF AMERICA                           INDICTMENT

        -vs-                                            Violations:

                                                        21 U.S.C. §§ 841(a)(1) and 856(a)(1)
 JAMES P. FOX                                           18 U.S.C. §§ 924(c)(1)(A)(i), 1591(a) and
                                                        1591(b)(1)

                                                        (7 Counts and 3 Forfeiture Allegations)


                                         COUNT 1
                                  (Distribution of Heroin)

                               The Grand Jury Charges That:

       Beginning in or about 2018, and continuing until in or about August 2021, the exact

dates being unknown to the Grand Jury, in the Western District of New York, the defendant,

JAMES P. FOX, did knowingly, intentionally, and unlawfully possess with intent to

distribute, and distribute, heroin, a Schedule I controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                         COUNT 2
                               (Distribution of Cocaine Base)

                          The Grand Jury Further Charges That:

       Beginning in or about 2018, and continuing until in or about August 2021, the exact

dates being unknown to the Grand Jury, in the Western District of New York, the defendant,

JAMES P. FOX, did knowingly, intentionally, and unlawfully possess with intent to
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distribute, and distribute, cocaine base, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                       COUNT 3
                    (Using and Maintaining a Drug-Involved Premises)

                          The Grand Jury Further Charges That:

       Beginning in or about 2018, and continuing until in or about August 2021, the exact

dates being unknown to the Grand Jury, in the Western District of New York, the defendant,

JAMES P. FOX, did knowingly, intentionally, and unlawfully use and maintain a place, that

is, the premises at 981 Beach Road, Cheektowaga, New York, for the purpose of

manufacturing, distributing, and using heroin, a Schedule I controlled substance, and cocaine

base, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 856(a)(1).



                                        COUNT 4
           (Possession of a Firearm in Furtherance of Drug Trafficking Crimes)

                          The Grand Jury Further Charges That:

       Beginning in or about 2018, and continuing until in or about August 2021, the exact

dates being unknown to the Grand Jury, in the Western District of New York, the defendant,

JAMES P. FOX, in furtherance of drug trafficking crimes for which the defendant may be

prosecuted in a court of the United States, that is, violations of Title 21, United States Code,

Sections 841(a)(1) and 856(a)(1), committed in the manner set forth in Counts 1 through 3




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of this Indictment, the allegations of which are incorporated herein by reference, did

knowingly and unlawfully possess a firearm.

         All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).



                                        COUNT 5
                  (Distribution of Heroin Causing Serious Bodily Injury)

                          The Grand Jury Further Charges That:

       On or about March 3, 2020, in the Western District of New York, the defendant,

JAMES P. FOX, did knowingly, intentionally, and unlawfully possess with intent to

distribute, and distribute, heroin, a Schedule I controlled substance, and serious bodily injury

to Victim 1, a person known to the Grand Jury, resulted from the use of such substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                        COUNT 6
                               (Sex Trafficking by Coercion)

                          The Grand Jury Further Charges That:

       Between in or about January 2019, and in or about May 2020, the exact dates being

unknown to the Grand Jury, in the Western District of New York, the defendant, JAMES P.

FOX, did knowingly recruit, entice, harbor, transport, provide, obtain, maintain, patronize,

and solicit, by any means, in and affecting interstate commerce, a person, that is, Victim 1, a

person known to the Grand Jury, knowing and in reckless disregard of the fact that means of

force, threats of force, fraud, and coercion, and any combination of such means, would be

used to cause Victim 1 to engage in a commercial sex act.

       All in violation of Title 18, United States Code, Sections 1591(a)(1) and 1591(b)(1).



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                                          COUNT 7
                                (Sex Trafficking by Coercion)

                           The Grand Jury Further Charges That:

       Between in or about 2018, and in or about 2021, the exact dates being unknown to the

Grand Jury, in the Western District of New York, the defendant, JAMES P. FOX, did

knowingly recruit, entice, harbor, transport, provide, obtain, maintain, patronize, and solicit,

by any means, in and affecting interstate commerce, a person, that is, Victim 2, a person

known to the Grand Jury, knowing and in reckless disregard of the fact that means of force,

threats of force, fraud, and coercion, and any combination of such means, would be used to

cause Victim 2 to engage in a commercial sex act.

       All in violation of Title 18, United States Code, Sections 1591(a)(1) and 1591(b)(1).



                           FIRST FORFEITURE ALLEGATION

                                The Grand Jury Alleges That:

       Upon conviction of any Count of this Indictment, the defendant, JAMES P. FOX,

shall forfeit all his right, title, and interest to the United States of any firearm and ammunition

involved and used in the commission of the offense, or found in his possession or under his

immediate control, including, but not limited to:



GUNS/AMMUNITION:

       a.      One (1) Remington 870 Shotgun, bearing serial number RS091127;

       b.      Twenty (20) shotgun shells.

       All pursuant to Title 18, United States Code, Sections 924(d)(1) and 3665, and Title

28, United States Code, Section 2461(c).


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                          SECOND FORFEITURE ALLEGATION

                               The Grand Jury Alleges That:

       Upon conviction of either of the offenses alleged in Counts 6 and 7 of this Indictment,

the defendant, JAMES P. FOX, shall forfeit to the United States any property constituting,

or derived from, proceeds obtained, directly or indirectly, as a result of said violations and

any and all property used, and intended to be used, in any manner or part, to commit or to

facilitate the commission of said violations, including, but not limited to the following:

       a.     One (1) gray Apple iPhone;

       b.     Assorted BDSM (Bondage, Dominance, Sadism, Masochism) equipment;

       c.     Taser with cartridges;

       d.     Knives;

       e.     Stun gun;

       f.     Paintings;

       g.     Camera;

       h.     Paints/Jello/Casting;

       i.     Modified spiked bats;

       j.     Painted mirror; and

       k.     Chains.

       All pursuant to Title 18, United States Code, Sections 1594(d)(1) and 1594(d)(2) and

Title 28, United States Code, Section 2461(c).




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                          THIRD FORFEITURE ALLEGATION

                                The Grand Jury Alleges That:

       Upon conviction of any of the offenses alleged in Counts 1 through 3, and Counts 6

and 7 of this Indictment, the defendant, JAMES P. FOX, shall forfeit to the United States

any property constituting, or derived from, proceeds obtained, directly or indirectly, as a result

of said violations and any and all property used, and intended to be used, in any manner or

part, to commit or to facilitate the commission of said violations, including, but not limited

to the following:



REAL PROPERTY:

       The premises and real property with buildings, appurtenances, and improvements at

981 Beach Road, Buffalo, New York, situate in the county of Erie, and more particularly

described in a certain deed recorded in the Erie County Clerk’s office in book 11153 of deeds

at page 7314;

       All pursuant to Title 18, United States Code, Sections 1594(d)(1) and 1594(d)(2),

Title 21, United States Code, Sections 853(a)(1), 853(a)(2) and 853(p), and Title 28, United

States Code, Section 2461(c).



                                    SUBSTITUTE ASSETS

       If any of the property described above as being subject to forfeiture, as a result of any

act or omission of the defendant:

       (1) cannot be located upon the exercise of due diligence;

       (2) has been transferred or sold to, or deposited with, a third person;



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       (3) has been placed beyond the jurisdiction of the Court;

       (4) has been substantially diminished in value; or

       (5) has been commingled with other property which cannot be divided without
          difficulty;

       It is the intention of the United States, pursuant to Title 21, United States Code,

Section 853(p), to seek forfeiture of any other property of said defendant up to the value of

the above forfeitable property.

       All pursuant to Title 18, United States Code, Sections 924(d)(1), and 1594(d)(1),

1594(d)(2), and 3665, Title 21, United States Code, Sections 853(a)(1), 853(a)(2) and

853(p), and Title 28, United States Code, Section 2461(c).



DATED:        Buffalo, New York, April 12, 2022.


                                           TRINI E. ROSS
                                           United States Attorney


                                    BY:    s/NICHOLAS T. COOPER
                                           Assistant United States Attorney
                                           United States Attorney’s Office
                                           Western District of New York
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                                           Buffalo, New York 14202
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A TRUE BILL:


s/FOREPERSON




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